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15                                UNITED STATES DISTRICT COURT

16                            NORTHERN DISTRICT OF CALIFORNIA
17
                                     SAN FRANCISCO DIVISION
18

19    IN RE OPENAI CHATGPT LITIGATION                    Case No. 3:23-cv-03223-AMO

20    This document relates to:                          NOTICE OF MOTION AND MOTION FOR
                                                         LEAVE TO FILE SECOND AMENDED
21    Case No. 3:23-cv-03223-AMO                         CONSOLIDATED COMPLAINT
      Case No. 4:23-cv-03416-AMO
22    Case No. 4:23-cv-04625-AMO

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 1                                  NOTICE OF MOTION AND MOTION

 2   TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:

 3          PLEASE TAKE NOTICE that on April 10, 2025, at 2:00 p.m., or as soon thereafter as the parties

 4   may be heard, Plaintiffs will and hereby do move for leave to file a Second Amended Consolidated

 5   Complaint (“SACC”) pursuant to Fed. R. Civ. P. 15(a)(2). Plaintiffs seek an order granting their Motion for

 6   Leave to File the SACC to add additional causes of action based on the new evidence produced in discovery

 7   in recent weeks, and also to add Microsoft Corporation as a Defendant in this proceeding. Plaintiffs’ Motion

 8   is based on this Notice of Motion and Motion, all pleadings and papers in this action, and any oral argument

 9   of counsel.

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 1   facts discovered to date. Denying leave to amend would punish Plaintiffs for waiting for a good faith basis

 2   for these new claims.10

 3        III.      CONCLUSION

 4               For the foregoing reasons, Plaintiffs respectfully request the Court grant Plaintiffs leave to file the

 5   proposed Second Amended Consolidated Complaint.

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        Plaintiffs also have not previously amended their complaint to introduce new substantive claims. The
26   First Amended Complaint merely re-pleaded two of the claims pleaded in the initial complaint. Those earlier
27   amendments focused on curing pleading deficiencies, whereas the instant amendment adds a party and raises
     additional theories of liability that could not reasonably have been known at the time of the earlier
28   amendments. See Kadrey, No. 23-cv-03417, ECF No. 389 (granting leave to amend to add new claims long
     after deficiencies in earlier complaints had been cured by two prior amendments).
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